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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS
CRIMINAL No.
22-10057-MLW
                                      UNITED STATES OF AMERICA
                                                    v.
                              MONICA CANNON-GRANT and CLARK GRANT
                                        INITIAL STATUS REPORT
                                              May 23, 2022
DEIN, M.J.
        An Initial Status Conference was scheduled to be held remotely before this court on May 23,

2022 pursuant to the provisions of Local Rule 116.5(a), but with the court’s consent the parties

proceeded by way of a Joint Status Report. Based on that Report, this court enters the following report

and orders to wit:

    1. The defendants are in the process of reviewing the documents produced by the government to
       date. The government and the parties have agreed to a schedule for the production of
       voluminous additional automatic discovery. It is expected that the production of the automatic
       discovery will be substantially completed in the next 60 days.

    2. The government will continue to produce automatic discovery on a rolling basis.

    3. The date for filing discovery and/or dispositive motions shall be set at the next status
       conference. Defendant Ms. Cannon-Grant has filed a Motion to schedule a trial date which is
       pending before the District Judge.

    4. The date for making expert disclosures shall be set at the next status conference.

    5. This court finds and concludes, pursuant to the provisions of 18 U.S.C. § 3161(h)(7)(A) and
       Section 5(b)(7)(B) of the Plan for Prompt Disposition of Criminal Cases in the United States
       District Court for the District of Massachusetts (Statement of Time Limits Adopted by the Court
       and Procedures for Implementing Them, Effective December 2008) that the defendant requires
       additional time for the preparation of an effective defense, including time for review of the
       evidence, preparation of motions, and consideration of alternatives concerning how best to
       proceed with this matter, and that the interests of justice outweighs the best interests of the
       public and the defendant for a trial within seventy days of the return of an indictment.
       Accordingly, it is hereby ordered that the Clerk of this Court enter excludable time for the period
       of May 23, 2022 through June 24, 2022, that being the period between the expiration of the last
       order of excludable time and the next status conference.
        Based upon the prior order of the court dated March 29, 2022 and the order entered
        contemporaneously herewith, at the time of the Interim Status Conference on June 24, 2022
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    there will be zero (0) days of non-excludable time under the Speedy Trial Act and seventy (70)
    days will remain under the Speedy Trial Act in which this case must be tried.
6. An Interim Status Conference has been scheduled for June 24, 2022 at 10:00 a.m. Counsel for
   the respective parties shall file a Joint Memorandum before the close of business no less than
   THREE business days prior to that Status Conference.
7. It is too early to determine if a trial will be necessary.
                                                 / s / Judith Gail Dein
                                               JUDITH GAIL DEIN
                                               UNITED STATES MAGISTRATE JUDGE




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